Case 2:05-cr-20252-BBD Document 30 Filed 07/22/05 Page 1 of 2 PagelD 27

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WEsTERN DlvlsloN 05 JUL 22 PH 1606
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U.S. PNTR¥CT COlHT
uNlTED sTATES oF AMERICA CLE% OF _M W__MS
P|aintiff
vs.
cR. No. 05-20252-0
DANNY ADAMS
Defendant.

 

ORDER ON CONT|NUANCE AND SPECIFV|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on July 21, 2005. At that time, counsel for the
defendant requested a continuance of the August 1, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to October 3, 2005 with a
report date of Thursda\¢l Segtember 22l 2005l at 9:00 a.m., in Courtroom 3. 9th F|oor
of the Federal Bui|ding, |Vlemphis, TN.

The period from Juiy 21, 2005 through October 14, 2005 is excludable under 18
U.S.C. § 31 61 (h)(8)(B)(iv) because the ends of justice served in allowing for additional time
to prepare outweigh the need for a speedy tria|.

IT ls so oRDERED this g$“day of July, 2005.

§RN|CE B. §ONALD

UN|TED STATES DlSTR|CT JUDGE

   

Thls document entered on the docket s
with Ftula 55 and/or 32(b) FFtCrP on '

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UNITED sATE DISTRICT COURT - WTERN DISTRCT OFTENNESSEE

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Honorable Bernice Donald
US DISTRICT COURT

